Case 2:O4-cr-20304-.]PI\/| Document 82 Filed 06/24/05 Page 1 of 3 Page|D 123

IN THE UNITED sTATEs DISTRICT cOURT Y#~~~I
FOR THE wEsTsRN DISTRICT 0F TENNESSEE
wEsTERN DIVISION

 

 

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‘\".‘J.U. '~..¢j:" F;\\}, wl;_'.¢-\¢"ii"l

UNITED STATES OF AMERICA
Plaintiff,
Criminal No. OZ ~ QO?>OM

(30-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,

through its Assistant United States Attorney, and counsel for the

defendant(s) have agreed that, for good cause, this case should be

continued for reasons resulting in the exclusion of time under the

Speedy Trial Act. The case is currently set on the July, 2005,

criminal rotation calendar, but is now RESET for report at 9:00

a.m. on Fridav, Julv 22, 2005, With trial to take place on the

August, 2005 rotation calendar With the time excluded under the

Speedy Trial Act through August 12, 2005. Agreed in open court at

report date this 24th day of June, 2005.

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Case 2:O4-cr-20304-.]PI\/| Document 82 Filed 06/24/05 Page 2 of 3 Page|D 124

so ORDERED this 24Eh day of June, 2005.

in mall

ON PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

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lamar judd

Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED STEATSDTISRIC COURT - WESERT DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 82 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

